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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA               : Hon. Claire C. Cecchi, U.S.D.J.

             v.                         : Crim. No. 19-877

 MATTHEW BRENT GOETTSCHE,               : STIPULATION AND MODIFICATION
                                          OF POST INDICTMENT RESTRAINING
                     Defendant.         : ORDER (sale of Bitwealth Holdings
                                          LLC’s interest in Opiniion, Inc.)
                                        :


      WHEREAS, on December 5, 2019, a federal grand jury in the District of

New Jersey returned an Indictment (“Indictment”) charging Matthew Brent

Goettsche (“Goettsche”) and others with conspiracy to commit wire fraud,

contrary to 18 U.S.C. § 1343, in violation of 18 U.S.C. § 1349 (Count One); and

conspiracy to offer and sell unregistered securities, contrary to 15 U.S.C. §§

77e and 77x, in violation of 18 U.S.C. § 371 (Count Two);

      WHEREAS, the Indictment contained a forfeiture allegation as to Count

One that gave notice of the United States’ intent to forfeit, upon conviction, all

right, title, and interest of Goettsche in all property, real and personal, that

constitutes or is derived from proceeds traceable to the commission of the wire

fraud conspiracy offense, and all property traceable thereto, pursuant to 18

U.S.C. § 981(a)(1)(C), and 28 U.S.C. § 2461(c);

      WHEREAS, on or about July 20, 2021, the Court entered a Post-

Indictment Restraining Order (“Restraining Order”) restraining Goettsche and




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others from transferring or encumbering certain assets, as well as from taking

any action that would diminish the value of the asset, including the following:

         All right, title, and interest of defendant Matthew Brent Goettsche
         ... [and] Bitwealth Holdings LLC in ... Bitwealth Holdings LLC’s
         investment in a business venture named Opiniion, LLC 1 in the
         amount of $750,000

         (hereinafter referred to as the “Subject Asset”);

         WHEREAS, on or about July 22, 2021, the United States filed a Third

Forfeiture Bill of Particulars alleging that the assets set forth in the Restraining

Order, including the Subject Asset, are subject to forfeiture in this action

pursuant to Federal Rule of Criminal Procedure 32.2(a), 18 U.S.C. §

981(a)(1)(C), and 28 U.S.C. § 2461(c);

         WHEREAS, on or about July 22, 2021, the United States served notice

upon all person and entities then believed to have an interest in the Subject

Asset;

         WHEREAS, on or about November ---, 2023, Goettsche; Bitwealth

Holdings LLC (“Bitwealth”); and Opiniion, Inc. (“Opiniion”) executed a stock

redemption agreement (“Stock Redemption Agreement”);

         WHEREAS, the Stock Redemption Agreement requires Opiniion to pay

$1,500,000.12 to Bitwealth for Bitwealth’s interest in the Subject Asset;

         WHEREAS, the value of the Subject Asset is subject to dissipation;



1
 The Restraining Order references Opiniion, LLC instead of Opiniion, Inc.
which is a party to the Stock Redemption Agreement (defined below). The
parties agree that the United States’ use of Opiniion, LLC in the Restraining
Order is meant to refer to Opiniion, Inc.

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      WHEREAS, the United States, Goettsche, Bitwealth, and Opiniion agree

that the Stock Redemption Agreement would preserve the value of the Subject

Asset pending a final adjudication on the merits;

      WHEREAS, the United States, Goettsche, Bitwealth, and Opiniion have

agreed that the payment for the Subject Asset made pursuant to the Stock

Redemption Agreement shall be held by the United States Marshals Service as

substitute res pending further order of this Court;

      WHEREAS, 21 U.S.C. § 853(g) confers broad power upon the Court to

take any action necessary to protect the interest of the United States in an

asset named in an order of forfeiture; and

      NOW, THEREFORE, it is hereby STIPULATED, ORDERED AND AGREED

by and between the United States, by and through its counsel, Philip R.

Sellinger, United States Attorney for the District of New Jersey, Joseph N.

Minish, appearing; Goettsche individually; Goettsche on behalf of Bitwealth;

and Justin Bingham on behalf of Opiniion (collectively, “Parties”):

      1.    On or about February 14, 2018, Bitwealth purchased 2,674,071

Series Seed Preferred Stock shares of Opiniion (Subject Asset) for $750,000. 2

      2.    Bitwealth and Opiniion represent that they have entered into the

Stock Redemption Agreement which requires Opiniion to pay Bitwealth

$1,500,000.12 for the Subject Asset.




2
 On or about September 22, 2023, Opiniion corrected the number of shares
purchased by Bitwealth for $750,000 to 2,673,797.

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      3.    The $1,500,000.12 payment shall be transferred to the United

States within ten days after all other conditions to closing set forth in the Stock

Redemption Agreement have been satisfied or waived, and shall be transferred

in accordance with directions to be provided by the United States Attorney’s

Office, the Federal Bureau of Investigation, or the United States Marshals

Service.

      4.    The $1,500,000.12 payment shall be held by the United States

Marshals Service as substitute res pending further order of this Court.

      5.    The $1,500,000.12 and any and all income or interest accrued

thereon, shall be the substitute res for the Subject Asset. The Restraining

Order is hereby deemed amended accordingly.

      6.    The substitute res shall be treated as the equivalent of the

Subject Asset and all claims and defenses applicable to the Subject Asset

shall apply to the substitute res. Nothing in this Stipulation shall be

construed to be a waiver of any rights, claims, or interests held by

Goettsche or Bitwealth in connection with the Subject Asset.

      7.    Should Goettsche be convicted of the charges in the Indictment,

and should the Court make a finding of a nexus, upon the disposition of

any petitions filed pursuant to 21 U.S.C. § 853, the Court will enter a Final

Order of Forfeiture pursuant to 21 U.S.C. § 853(n) and 18 U.S.C. §

982(b)(1), in which all interests in the substitute res will be addressed.




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      8.     Opiniion understands and agrees that it waives any rights to

litigate further its interest in the Subject Asset and further pursue

remission or mitigation of the forfeiture of the Subject Asset.

      9.     Each of the Parties agrees to bear its costs and attorneys’ fees.

      10.    Goettsche and Bitwealth are each hereby barred from asserting

any claim against the United States, its departments and agencies, officers,

employees, and agents, in their individual and official capacities, in connection

with or arising out of, the United States’ actions against and relating to the

Subject Asset.

      11.    The individuals signing this Stipulation and Order on behalf of

Bitwealth and Opiniion each represent and warrant that they have full

authority to execute this Stipulation and Order. The United States signatory

represents that the undersigned is signing this Stipulation and Order in

his/her official capacity and that the undersigned is authorized to execute this

Stipulation and Order. The undersigned individuals further represent that

each of them has obtained all consents, approvals, or other acts of any kind

required to be obtained or done to enable it lawfully to enter into this

Stipulation and Order.

      12.    The United States reserves the right, in its discretion, to terminate

the forfeiture at any time and release the Subject Asset. In either event, the

United States shall promptly notify the other Parties of such action. A

discretionary termination of forfeiture shall not be a basis for any award of

attorneys’ fees or costs.


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      13.   The signature pages of this Stipulation and Order may be executed

in one or more counterparts and transmitted by facsimile or electronic means.

Counterparts will be deemed an original, and all of them together will

constitute the same instrument.

      14.   This Stipulation and Order constitutes the complete agreement

between the Parties and may not be amended except by written consent of the

Parties.

      15.   This Court shall retain jurisdiction in this matter to take additional

action and enter further orders as necessary to implement and enforce this

Stipulation and Order authorizing the modification of the Restraining Order.




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                     AGREED AND CONSENTED TO BY:



For the United States:

Philip R. Sellinger
United States Attorney


s/ Joseph N. Minish
____________________________________                 Dated: 12-6-23
By: Joseph N. Minish
      Sarah Devlin
      Assistant United States Attorneys



For Matthew Brent Goettsche:



_____________________________________                Dated:
Matthew Brent Goettsche
Defendant



_____________________________________                Dated:
Rodney Villazor, Esq.
Counsel for defendant
Matthew Brent Goettsche


For Bitwealth Holdings LLC:



____________________________________                 Dated:
By: Matthew Brent Goettsche
      Managing Member
      Bitwealth Holdings LLC




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                                                           11/17/2023
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For Opiniion, Inc.:



____________________________________                 Dated:   11/20/23
Justin Bingham
President and Chief Executive Officer




____________________________________                 Dated:
Simeon Vance, Esq.
Counsel for Opiniion, Inc.




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                                   ORDER

       Having reviewed the foregoing Stipulation and good cause appearing,

 IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Stipulation is

 SO ORDERED.

       ORDERED this ______ day of _________________, 2023.




                                    ____________________________________
                                    Hon. Claire C. Cecchi, U.S.D.J.




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